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IN THE UNITED sTATEs DISTRICT cOURT mm BY~»-- »----9¢`~

FOR THE wEsTERN DISTRICT oF TENNESSEE d

wEsTERN DIVIS:ON ‘05 MB 29 AH 6=|4.'
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.C\M U.S.DLSTH|CTCD\BT

UNITED sTATEs oF AMERICA WIDOFTN,MENPI'BS

Plaintiff,

V .

_Ee€).sz,, /V¢\Ma. //

criminal NO. QL- ,,l<>,)“?y Mi

(30-Day Continuance)

 

 

 

 

Defendant{s).

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CONSEN'I' ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF 'I`IME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should he
continued for reasons resulting in the exclusion of time under the
Speedy Trial Act. The case is currently set on the September,
2005, criminal rotation calendar, but is now RESET for report at
9:00 a.m. on Fridav, September 23, 2005, with trial to take place
on the October, 2005 rotation calendar with the time excluded under
the Speedy Trial Act through October 14, 2005. Agreed in open court

at report date this 26ch day of August, 2005.

Tl:us doc!_im¢:r\t entered on the docknt sheet in compliance
with Huie art ur=;;,¢'ur 32(b) FHCrf-" o_n ' “

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SO ORDERED this 26th day Of August, 2005.

WOJL@

JO PHIPPS MCCALLA
UN TED STATES DISTRICT JUDGE

§éz»-%%

Assistant nited States Attorney

 

 

 

 

 

Counsel for Defendant(s)

   

UNITED sTATE DRISTIC COUR - WTERN D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 20 in
case 2:05-CR-20238 Was distributed by faX, mail, or direct printing on
August 31, 2005 to the parties listed.

 

 

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Honorable .1 on McCalla
US DISTRICT COURT

